                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF CALIFORNIA

                                                    Minute Order
Hearing Information:
                                                                                                                      0.00
                     Debtor:   MARGARITO VASQUEZ SANCHEZ
               Case Number:    18-01740-LA13         Chapter: 13
      Date / Time / Room:      WEDNESDAY, AUGUST 22, 2018 10:00 AM DEPARTMENT 2
       Bankruptcy Judge:       LOUISE DeCARL ADLER
        Courtroom Clerk:       KAREN FEARCE
          Reporter / ECR:      TRISH CALLIHAN

Matter:
              OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN FILED BY MICHELLE GHIDOTTI OF THE
              LAW OFFICES OF MICHELLE GHIDOTTI ON BEHALF OF DEUTSCHE BANK NATIONAL TRUST
              COMPANY, AS CERTIFICATE TRUSTEE ON BEHALF OF BOSCO CREDIT II TRUST SERIES 2010-1.
              (Fr 8/8/18)



Appearances:

        DAVID SKELTON, TRUSTEE
        DAVID SPECKMAN, ATTORNEY FOR MARGARITO VASQUEZ SANCHEZ
        RUSSEL T LITTLE, ATTORNEY FOR DEUTSCHE BANK NAT'L TRUST CO.

Disposition:                                                                                            1.00

        Hearing continued to 11/14/18 at 10:00 for Deutsche Bk to file an amended POC by 9/19/18.
        An amended plan to be filed by 9/26/18.




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